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      EXHIBIT 2
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                                                       REQUEST
                           FOR SERVICE ABROAD OF JUDICIAL OR EXTRAJUDICIAL DOCUMENTS
                                                       DEMANDE
                               AUX FINS DE SIGNIFICATION OU DE NOTIFICATION A L'ÉTRANGER
                                        D'UN ACTE JUDICIARE OU EXTRAJUDICIAIRE
                                          Convention on the service abroad of judicial and extrajudicial documents in civil or
                                                     commercial matters, signed at The Hague, November 15, 1965.
                        Convention relative à la signification et à la notification à l'étranger des actes judiciaires ou extrajudiciares en matière civile
                                                          ou commerciale, signée à La Haye, le 15 Novembre 1965.

                         Identity and address of the applicant                                                         Address of receiving authority
                            Identité et adresse du requérant                                                           Adresse de l'autorité destinataire
  Aaron D. Lukken, Attorney
  Viking Advocates, LLC                                                                         Administration of Courts
  6525 Charlotte Street                                                                         Legal Assistance to Foreign Countries
  Kansas City, Missouri 64131 USA                                                               22 Kanfei Nesharin St.
  lukken@vikinglaw.us                                                                           Jerusalem 95464
  Tel. +1.816.200.1383
The undersigned applicant has the honour to transmit -in duplicate- the document listed below and, in conformity with article 5 of the
above-mentioned Convention, requests prompt service of one copy thereof on the addressee, i.e.,
         (identity and address)
Le requérant soussigné a l'honneur de faire parvenir en double exemplaire à l'autorité destinataire les documents ci-dessous énumérés,
en la priant conformément à l'article 5 de la Convention précitée, d'en faire remettre sans retard un exemplaire au destinataire, savoir:
         (identité et adresse) Q Cyber Technologies Limited
                                  22 Galgalei Haplada,
                                  Hertsliya, Israel 4672222
                                  by Shalev Hulio, Chief Executive Officer
        (a) in accordance with the provisions of sub-paragraph (a) of the first paragraph of article 5 of the Convention.*
         (a) selon les formes légales (article 5, alinéa premier, lettre a).
        (b) in accordance with the following particular method (sub-paragraph (b) of the first paragraph of article 5)*:
         (b) selon la forme particulière suivante (article 5, alinéa premier, lettre b) : Personal service, effected by Mr. Eitan Newman or his agent.
        (c) by delivery to the addressee, if he accepts it voluntarily (second paragraph of article 5)*:
         (c) le cas échéant, par remise simple (article 5, alinéa 2).

The authority is requested to return or to have returned to the applicant a copy of the documents and of the annexes*--with a certificate
as provided on the reverse side.
Cette autorité est priée de renvoyer ou de faire renvoyer au requérant un exemplaire de l'acte—et de ses annexes—avec
l'attestation figurant au verso.


THE PERSONS AND ENTITIES WITHIN THE UNITED STATES COMPETENT TO FORWARD SERVICE REQUESTS PURSUANT TO ARTICLE 3
INCLUDE ANY COURT OFFICIAL; ANY ATTORNEY; OR ANY OTHER PERSON OR ENTITY AUTHORIZED BY THE RULES OF THE COURT.
(See U.S. declarations to the 1965 Convention at the Hague Conference website: http://www.hcch.net/index_en.php?act=authorities.details&aid=279)



List of documents
Enumération des pièces
  Hague Service Convention Notice
  Summary of the Document to Be Served                                                             Done at Kansas City, Missouri, USA, the 27th November, 2019
  Summons in a Civil Action                                                                        Fait à                                   , le
  Complaint with Exhibits 1-11                                                                     Signature and/or stamp.
  Civil Cover Sheet                                                                                Signature et/ou cachet.
  ADR/CMC Order
  Standing Order (All Judges of N.D. Cal.)
  Standing Order (JCMS), Standing Order (Magistrate Judge Corley)



*Delete if inappropriate
Rayer les mentions inutiles.
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                                                               CERTIFICATE
                                                               ATTESTATION
The undersigned authority has the honour to certify, in conformity with Article 6 of the Convention,
L’autorité soussignée a l’honneur d’attester conformément à l’article 6 de ladite Convention,

1. that the document has been served*/que la demande a été exécutée*

            – the (date) / le (date): ______________________
            – at (place, street, number)/ à (localité, rue, numéro): ______________________

– in one of the following methods authorized by Article 5/dans une des formes suivantes prévues à l’article 5 :

           a) in accordance with the provisions of sub-paragraph a) of the first paragraph of Article 5 of the Convention*/
                 selon les formes légales (article 5, alinéa premier, lettre a)*

           b) in accordance with the following particular method*/selon la forme particulière suivante* :

            __________________________________________________________

           c) by delivery to the addressee, if he accepts it voluntarily*/par remise simple*


The documents referred to in the request have been delivered to/Les documents mentionnés dans la demande ont été remis à :
        Identity and description of person/ Identité et qualité de la personne:

            _________________________________________________________

            Relationship to the addressee (family, business or other)/Liens de parenté, de subordination ou autres, avec le destinataire de l’acte :

            _________________________________________________________

2. that the document has not been served, by reason of the following facts*/
          que la demande n’a pas été exécutée, en raison des faits suivants*:

            _________________________________________________________

 In conformity with the second paragraph of Article 12 of the Convention, the applicant is requested to pay or reimburse the
expenses detailed in the attached statement*/ Conformément à l’article 12, alinéa 2, de ladite Convention, le requérant est prié de
payer ou de rembourser les frais dont le détail figure au mémoire ci-joint*.

                                                                Annexes / Annexes

Documents returned/Pièces renvoyées: ______________________________________

In appropriate cases, documents establishing the service/ Le cas échéant, les documents justificatifs de l’exécution :

                          ______________________________________


Done at / Fait à         ______________________                                 Signature and/or stamp/ Signature et / ou cachet


The / le                 ______________________                                 ______________________________________


* if appropriate / s’il y a lieu
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                                              NOTICE
                               (recommended by the Fourteenth Session of
                                  Hague Conference of October, 1980)

                                 identity and address of the addressee
                                    identité et adresse du destinataire

                                  Q Cyber Technologies Limited
                                        22 Galgalei Haplada,
                                      Hertsliya, Israel 4672222
                                    (or wherever it may be found)

                                             IMPORTANT

THE ENCLOSED DOCUMENT IS OF A LEGAL NATURE AND MAY AFFECT YOUR RIGHTS AND OBLIGATIONS. THE
"SUMMARY OF THE DOCUMENT TO BE SERVED" WILL GIVE YOU SOME INFORMATION ABOUT ITS NATURE AND
PURPOSE. YOU SHOULD, HOWEVER, READ THE DOCUMENT ITSELF CAREFULLY. IT MAY BE NECESSARY TO SEEK LEGAL
ADVICE.

IF YOUR FINANCIAL RESOURCES ARE INSUFFICIENT YOU SHOULD SEEK INFORMATION ON THE POSSIBILITY OF
OBTAINING LEGAL AID OR ADVICE EITHER IN THE COUNTRY WHERE YOU LIVE OR IN THE COUNTRY WHERE THE
DOCUMENT WAS ISSUED.

ENQUIRIES ABOUT THE AVAILABILITY OF LEGAL AID OR ADVICE IN THE COUNTRY WHERE THE DOCUMENT WAS
ISSUED MAY BE DIRECTED TO:

                                           TRÈS IMPORTANT

LE DOCUMENT CI-JOINT EST DE NATURE JURIDIQUE ET PEUT AFFECTER VOS DROITS ET OBLIGATIONS. LES "ELÉMENTS
ESSENTIELS DE L'ACTE" VOUS DONNENT QUELQUES INFORMATIONS SUR SA NATURE ET SON OBJET. IL EST TOUTEFOIS
INDISPENSABLE DE LIRE ATTENTIVEMENT LE TEXTE MÊME DU DOCUMENT. IL PEUT ÊTRE NÉCESSAIRE DE DEMANDER
UN AVIS JURIDIQUE.

SI VOS RESSOURCES SONT INSUFFISANTES, RENSEIGNEZ-VOUS SUR LA POSSIBILITÉ D'OBTENIR L'ASSISTANCE
JUDICIAIRE ET LA CONSULTATION JURIDIQUE SOIT DANS VOTRE PAYS SOIT DANS LE PAYS D'ORIGINE DU DOCUMENT.

LES DEMANDES DE RENSEIGNEMENTS SUR LES POSSIBILITÉS D'OBTENIR L'ASSISTANCE JUDICIAIRE OU LA
CONSULTATION JURIDIQUE DANS LE PAYS D'ORIGINE DU DOCUMENT PEUVENT ÊTRE ADRESSÉES:




                                       Bay Area Legal Aid
                                         1800 Market St.,
                                     San Francisco, CA 94102
                                      Tel. +1 (415) 982-1300
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                                                        SUMMARY OF THE DOCUMENT TO BE SERVED
                                                             ELEMENTS ESSENTIELS DE L'ACTE
                                        Convention on the service abroad of judicial and extrajudicial documents in civil or commercial
                                                                 matters, signed at The Hague, November 15, 1965.
                                      Convention relative à la signification et à la notification à l'étranger des actes judiciaires et extrajudiciares
                                                     en matière civile ou commerciale, signée à La Haye, le 15 Novembre 1965.
                                                                              (article 5, fourth paragraph)
                                                                                    (article 5, alinéa 4)

Name and address of the requesting authority:                          Aaron D. Lukken, Attorney
Nom et adresse de l'autorité requérante :                              Viking Advocates, LLC
                                                                       6525 Charlotte Street, Kansas City, Missouri, USA
                                                                       lukken@vikinglaw.us Tel. 1.816.200.1383

Particulars of the parties*:
                                                                          WHATSAPP INC.; FACEBOOK, INC.; Plaintiffs , Willow Road 1601 Menlo Park, California 94025, U.S
Identité des parties :
                                                                          NSO Group Technologies, Limited; Q Cyber Technologies Limited; Defendants
                                                                          22 Galgalei Haplada, Hertsliya, Israel 4672222
                                                                          Phone number: 09-966-3802
                                                                          email address: shalev@nsogroup.com

                                                                                   JUDICIAL DOCUMENT**
                                                                                      ACTE JUDICIAIRE
Nature and purpose of the document:
Nature et objet de l'acte :                                                                               To make the defendants aware of a claim against them and to
                                                                                                          demand their appearance at court.


Nature and purpose of the proceedings and, where appropriate, the amount in dispute:
Nature et objet de l'instance, le cas échéant, le montant du litige :                                     A civil action has been commenced against the Defendants.
                                                                                                          The plaintiffs accuse the defendants of, inter alia, computer
                                                                                                          fraud and breach of contract.
Date and place for entering appearance**:
                                                                                                          Within 21 days from service the defendants must file an
                                                                                                          answer and appearance in the United States District Court for
Date et lieu de la comparution :
                                                                                                          the Northern District of California, 450 Golden Gate Avenue,
                                                                                                          San Francisco, CA 94102.

Court which has given judgment**:
Juridiction qui a rendu la décision :                                                                     No court has issued a judgment.

Date of judgment**:
Date de la décision :                                                                                    No court has issued a judgment.

Time limits stated in the document**:
Indication des délais figurant dans l’acte:                                                               21 days




*   If appropriate, identity and address of the person interested in the transmission of the document.
    S'il y a lieu, identité et adresse de la personne intéressée à la transmission de l'acte.
